          Case 1:19-cr-20603-MGC Document 6 Entered on FLSD Docket 09/19/2019 Page   1 of YH
                                                                              FILED by    4                                D.C.


                                                                                                       Sep 19, 2019
                                       UNITED STATES DISTRICT COURT                                     ANGELA E. NOBLE
                                                                                                       CLERK U.S. DIST. CT.
                                       SOUTHERN DISTRICT OF FLORIDA                                    S. D. OF FLA. - M IAMI

                            19-20!Q}N~R-COOKE/GOODMAN
                                                   18 U.S.C. §§ 32(a)(l) and (a)(8)
                                                   18 U.S.C. § 98l(a)(l)(C)

            UNITED STATES OF AMERICA

            vs.

            ABDUL-MAJEED MAROUF AHMED ALANI,

                                  Defendant.
            - -- -- - - - -- - - - - - -- - --'/


I                   The Grand Jury charges:
                                                     INDICTMENT




                    On or about July 17, 2019, in Miami-Dade County, in the Southern District of Florida, the

            defendant,

                                   ABDUL-MAJEED MAROUF AHMED ALANI,

            did willfully attempt to damage, destroy, disable and wreck a civil aircraft that is used, operated,

            and employed in interstate, overseas, and foreign air commerce, in violation of Title 18, United

            States Code, Sections 32(a)(l) and (a)(8).

                                            FORFEITURE ALLEGATIONS

                    l.     The allegations of this Indictment are hereby re-alleged and by this reference fully

            incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

            property in which the defendant, ABDUL-MAJEED MAROUF AHMED ALANI, has an

            interest.

                    2.     Upon conviction of a violation Title 18, United States Code, Section 32, as alleged

'l
            in this Indictment, the defendant shall forfeit to the United States any property, real or personal,



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Il    which constitutes or is derived from proceeds traceable to such offense, pursuant to Title 18,
1     United States Code, Section 98l (a)(l)(C).
i
              All pursuant to Title 18, United States Code, Section 981 (a)( l )(C) and the procedures set
I
i     forth in Title 2 1, United States Code, Section 853, as incorporated by Title 28, United States Code,

      Section 246 l (c).

                                                            A TRUE BILL



                                                            -
                                                            F OREPER"SON




      ASSISTANT UNITED STATES ATTORNEY



      MARIA K. MEDE 'IS
      ASSISTANT UNITED STATES ATTORNEY



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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                          CASE NO.
v.
                                                  CERTIFICATE OF TRIAL ATTORNEY*
ABDUL-MAJEED MAROUF AHMED ALANI,
              Defendant.
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _/ Superseding Case Information:

Court Division:   (Select One)                   New Defendant(s)                     Yes _ _ No
                                                 Number of New Defendants
_x_ Miami          _ _ Key West                  Total number of counts
        FTL            WPB             FTP
        I do hereby certify that:
        1.      I have carefully considered the allegations of the indictment, the number of defendants, the number
                of probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.      I am aware that the information supplied on this statement will be relied upon by the Judges of this
                Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                Act, Title 28 U.S.C. Section 3161.
        3.      Interpreter:    (Yes or No)      Yes
                List language and/or dialect     Ara6ic
        4.      This case will take      5       days for the parties to try.
        5.      Please check appropriate category and type of offense listed below:
                (Check only one)                                   (Check only one)


        I       0    to 5 days                   _x_               Petty
        II      6    to 10 days                                    Minor
        III     11     to 20 days                                  Misdem.
        IV      21   to 60 days                                    Felony                  X
        V       61   days and over
        6.      Has this case been previously filed in this District Court? (Yes or No) -
                                                                                        No- -
        Ifyes:
        Judge: _ _ _ _ _ _ _ _ _                          Case No.
        (Attach copy of dispositive order)
        Has a complaint been filed in this matter?        (Yes or No)       Yes
        If yes:
        Magistrate Case No.                       19-mj-03419-O'Sullivan
        Related Miscellaneous numbers:           ------------------------
        Defendant( s) in federal custody as of    09/05/2019
        Defendant(s) in state custody as of      ------------------------
        Rule 20 from the District of
        Is this a potential death penalty case? (Yes or No)         No
        7.      Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                prior to October 14, 2003?       Yes               No _X_

        8.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                prior to September 1, 2007?     Yes___                  No _x_

                                                        ~--X-~·
                                                          MARIA K. MEDETIS
                                                          ASSISTANT UNITED STATES ATTORNEY
                                                          FL Bar No. 1012329

*Penalty Sheet(s) attached                                                                                REV 5/3/17
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENAL TY SHEET

  Defendant's Name: ABDUL-MAJEED MAROUF AHMED ALANI

  Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Count#: 1

  Attempted Destruction of an Aircraft

  Title 18, United States Code, Sections 32(a)(l) and (a)(8)

  *Max. Penalty: 20 Years' Imprisonment

  Count#:




  * Max. Penalty:

  Count#:




  *Max. Penalty:

  Count#:




  *Max. Penalty:




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
